           Case 3:24-cv-09019-AMO            Document 25-1   Filed 12/17/24   Page 1 of 4




 1   WILMER CUTLER PICKERING
     HALE AND DORR LLP
 2
     SONAL N. MEHTA (SBN 222086)
 3   Sonal.Mehta@wilmerhale.com
     2600 El Camino Real, Suite 400
 4   Palo Alto, CA 94306
     Telephone: (650) 858-6000
 5

 6   DAVID Z. GRINGER (pro hac vice)
     David.Gringer@wilmerhale.com
 7   PAUL VANDERSLICE (pro hac vice)
     Paul.Vanderslice@wilmerhale.com
 8   7 World Trade Center
     250 Greenwich St.
 9
     New York, NY 10007
10   Telephone: (212) 230-8800

11   Attorneys for Defendant Coinbase Global Inc.
12
                                  UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                         SAN FRANCISCO DIVISION
15
      BIT GLOBAL LIMITED,
16
                            Plaintiff,               Case No. 3:24-cv-09019-AMO
17
             v.                                      DECLARATION OF SONAL N. MEHTA
18                                                   IN SUPPORT OF COINBASE’S
      COINBASE GLOBAL INC.,                          OPPOSITION TO EX PARTE
19
                                                     EMERGENCY MOTION FOR
                            Defendant.
20                                                   TEMPORARY RESTRAINING ORDER
                                                     AND PRELIMINARY INJUNCTION
21

22

23

24

25

26
27

28

     Case No. 3:24-cv-09019-AMO                                    MEHTA DECL. ISO COINBASE’S
                                                                            OPP. FOR TRO & PI
           Case 3:24-cv-09019-AMO            Document 25-1        Filed 12/17/24      Page 2 of 4




 1   I, Sonal N. Mehta, hereby state and declare as follows:

 2           1.      I am an attorney at law duly licensed to practice in the State of California. I am an
 3   attorney at the law firm of Wilmer Cutler Pickering Hale and Dorr LLP and counsel for
 4   Defendant Coinbase Global Inc. (“Coinbase”) in this action.
 5           2.      I make this declaration in support of Coinbase’s opposition to Ex Parte
 6   Emergency Motion for Temporary Restraining Order and Preliminary Injunction. I am familiar
 7   with the facts set forth herein.
 8           3.      Attached as Exhibit A is a true and correct copy of a post on X from
 9   @justinsuntron, dated August 10, 2024 at 4:33 PM ET, available at
10   https://x.com/justinsuntron/status/1822370692014485937.
11           4.      Attached as Exhibit B is a true and correct copy of a post on X from
12   @WrappedBTC, dated September 24, 2024, available at
13   https://x.com/WrappedBTC/status/1838778832456941945.
14           5.      Attached as Exhibit C is a true and correct copy of a Coinbase help center article
15   titled “Asset legal review,” last accessed on December 16, 2024, available at
16   https://help.coinbase.com/en/coinbase/privacy-and-security/other/asset-legal-review.
17           6.      Attached as Exhibit D is a true and correct copy of a Coinbase article by Noama
18   Samreen titled “Token Custody Risks; Defining Security in the Crypto World,” dated June 29,
19   2023, available at https://www.coinbase.com/blog/token-custody-risks-defining-security-in-the-
20   crypto-world.
21           7.      Attached as Exhibit E is a true and correct copy of a Coinbase help center article
22   titled “Enhancing Trust with Regulatory Compliance,” last accessed on December 16, 2024,
23   available at https://help.coinbase.com/en/coinbase/other-topics/legal-policies/enhancing-trust-
24   with-regulatory-compliance.
25           8.      Attached as Exhibit F is a true and correct copy of a Medium article titled “BitGo
26   to Move WBTC to Multi-Jurisdictional Custody to Accelerate Global Expansion Plan,” dated
27

28

     Case No. 3:24-cv-09019-AMO                     1                     MEHTA DECL. ISO COINBASE’S
                                                                                   OPP. FOR TRO & PI
           Case 3:24-cv-09019-AMO          Document 25-1        Filed 12/17/24     Page 3 of 4




 1   August 9, 2024, available at https://blog.bitgo.com/bitgo-to-move-wbtc-to-multi-jurisdictional-

 2   custody-to-accelerate-global-expansion-plan-2ea0623fa2c8.

 3          9.      Attached as Exhibit G is a true and correct copy of a post of X by user

 4   @mikebelshe, dated August 10, 2024 at 1:06 PM ET, available at

 5   https://x.com/mikebelshe/status/1822318651996877224.

 6          10.     Attached as Exhibit H is a true and correct copy of a comment on MakerDAO by

 7   user mikebelshe, dated August 11, 2024, available at https://forum.sky.money/t/wbtc-changes-

 8   and-risk-mitigation-10-august-2024/24844/18.

 9          11.     Attached as Exhibit I is a true and correct copy of The Block article by Zack

10   Abrams titled “BitGo CEO Mike Belshe on Justin Sun’s WBTC involvement: ‘A big nothing

11   burger,’” dated August 11, 2024, available at https://www.theblock.co/post/310576/bitgo-ceo-

12   mike-belshe-on-justin-suns-wbtc-involvement-a-big-nothingburger.

13          12.     Attached as Exhibit J is a true and correct copy of a CoinDesk article by Sam

14   Reynolds titled “BitGo Reiterates Autonomy From Justin Sun, Tron as MakerDAO Decides to

15   Dump WBTC,” dated August 15, 2024, available at

16   https://www.coindesk.com/business/2024/08/15/bitgo-reiterates-autonomy-from-justin-sun-tron-

17   as-makerdao-decides-to-dump-wbtc.

18          13.     Attached as Exhibit K is a true and correct copy of a CoinDesk article by Sam

19   Reynolds titled “BitGo CEO Says Wrapped Bitcoin’s Critics Aren’t Being ‘Intellectually

20   Honest’ About Their Concerns,” dated September 3, 2024, available at

21   https://www.coindesk.com/business/2024/09/03/bitgo-ceo-says-wrapped-bitcoins-critics-arent-

22   being-intellectually-honest-about-their-concerns.

23          14.     Attached as Exhibit L is a true and correct copy of a post on X from

24   @justinsuntron, dated August 12, 2024 at 6:24 AM ET, available at

25   https://x.com/justinsuntron/status/1822942271660339633.

26          15.     Attached as Exhibit M is a true and correct copy of a post on MakerDAO by user
27   monet-supply, dated August 10, 2024, available at https://forum.sky.money/t/wbtc-changes-and-

28

     Case No. 3:24-cv-09019-AMO                   2                    MEHTA DECL. ISO COINBASE’S
                                                                                OPP. FOR TRO & PI
           Case 3:24-cv-09019-AMO           Document 25-1        Filed 12/17/24     Page 4 of 4




 1   risk-mitigation-10-august-2024/24844.

 2          16.     Attached as Exhibit N is a true and correct copy of The Verge article by

 3   Christopher Harland-Dunaway titled “The Many Escapes of Justin Sun,” dated March 9, 2022,

 4   available at https://www.theverge.com/c/22947663/justin-sun-tron-cryptocurrency-poloniex.

 5          17.     Attached as Exhibit O is a true and correct copy of an interactive graph on

 6   CryptoQuant titled “Wrapped BTC: Total Supply,” last accessed on December 17, 2024,

 7   available at https://cryptoquant.com/asset/wbtc/chart/supply/total-

 8   supply?window=DAY&sma=0&ema=0&priceScale=log&metricScale=linear&chartStyle=line.

 9          18.     Attached as Exhibit P is a true and correct copy of a post on X from user

10   @CoinbaseAssets, dated November 19, 2024 at 12:14 PM ET, available at

11   https://x.com/CoinbaseAssets/status/1858921827159945638.

12          I declare under penalty of perjury under the laws of the United States that the foregoing is

13   true and correct.

14
            Executed this 17th day of December, 2024.
15

16                                                        _/s/ Sonal N Mehta_______________
                                                          Sonal N. Mehta
17

18

19

20

21

22

23

24

25

26
27

28

     Case No. 3:24-cv-09019-AMO                   3                        MEHTA DECL. ISO COINBASE’S
                                                                                    OPP. FOR TRO & PI
